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IN THE UNITED STATES DISTRlcT COURT F"‘ED B"’ % D.c.
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITEI) STATES oF AMERICA, )
)

Plaintiff, ) Criminal No. 05-20016-Ml
vs. )
)
KENNETH DRAFFIN, )
)
Defendant. )

 

ORDER ON BOND REVOCATION

 

lt is hereby ORDERED that the Government's motion to revoke the Defendant’s bond in
Indictrnent 05 -20()]6 is hereby GRANTED.

IT IS so 0R1)ERED this the 39 day ofAugusr, 2005

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Approved by / W

Date g zzog.c) §

 

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UNIT D STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:05-CR-200]6 Was distributed by faX, mail, or direct printing on
Septernber 2, 2005 to the parties listed.

ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

